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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLORADO

   Civil Action No. 23-cv-00408-GPG-MEH

   DIANE S. JONES et al, on behalf of herself
   and all others similarly situated,

                  Plaintiff,

          v.

   P2ES HOLDINGS, LLC, d/b/a
   P2 ENERGY SOLUTIONS,

                  Defendant.


                                JOINT NOTICE OF SETTLEMENT


          Plaintiffs Joan Ogg and Diane Jones (“Plaintiffs”) and Defendant P2ES Holdings, LLC

   (“Defendant”) (together with Plaintiffs, the “Parties”), hereby submit this Joint Notice of

   Settlement and notify the Court that on August 9, 2023, the Parties reached an agreement in

   principle to settle this action on a class-wide basis. This agreement, if preliminarily and finally

   approved, will dispose of the above-captioned action in its entirety. The Parties are presently

   drafting the settlement documents and anticipate filing a motion for preliminary approval on or

   before September 25, 2023.

          In light of the settlement and the forthcoming motion for preliminary approval, the Parties

   respectfully request that the Court vacate all pending case deadlines.
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   Dated: August 10, 2023.

   Respectfully submitted,

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     DEMARCO, LLC                    BRYSON PHILLIPS
                                     GROSSMAN PLLC                   /s/ Keeley O. Cronin
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                                     Attorney for Plaintiffs         Attorney for Defendant




                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 10th day of August, I electronically filed the foregoing with

   the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

   following email addresses:

          Terence Richard Coates
          tcoates@msdlegal.com

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                                                              /s/ Gary M. Klinger
                                                               Gary M. Klinger




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